                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                  5:12-CV-00128-RLV
                                (5:00-CR-00046-RLV-2)

BRYON KEITH LATTIMORE,              )
                                    )
            Petitioner,             )
                                    )
                v.                  )                                     ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)

        THIS MATTER is before the Court on consideration of Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255. For the reasons that follow,

Petitioner’s Section 2255 motion will be denied and dismissed.

                                          I.   BACKGROUND

        On March 1, 2002, Petitioner was convicted on one count of conspiracy to possess with

intent to distribute quantities of cocaine and cocaine base, in violation of 21 U.S.C. § 846.

Petitioner was sentenced to a term of life imprisonment. (5:00-CR-00046, Doc. No. 149:

Judgment in a Criminal Case at 1-2). Petitioner, along with his co-defendants, filed an appeal

from their judgments to the United States Court of Appeals for the Fourth Circuit. 1 The Fourth

Circuit, in a per curiam opinion, rejected each of Petitioner’s arguments and affirmed his

criminal judgment in all respects. United States v. Waddell, 62 F. App’x 491 (4th Cir. filed Apr.

11, 2003) (unpublished). (Doc. No. 173).



1 In a consolidated appeal, the case was given the name of Theodore Thomas Waddell, the lead defendant named in
the indictment.

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       On August 20, 2012, Petitioner filed a pro se motion under Section 2255 contending that

his sentence should be vacated and he should be resentenced without the Court’s consideration of

prior state drug convictions which the Government noticed pursuant to 21 U.S.C. § 851 for

purposes of sentencing enhancement. Petitioner argues that a recent Fourth Circuit case, United

States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc), entitles him to relief because the

Court has altered the way in which a previous drug conviction may be used to determine a

sentencing enhancement.

                                 II. STANDARD OF REVIEW

       Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable authority and concludes

that this matter can be resolved without an evidentiary hearing. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).

                                       III.    DISCUSSION

       On April 24, 1996, Congress enacted the Antiterrorism and Effective Death Penalty Act

(“AEDPA”). Under the AEDPA, there is a one-year statute of limitations for filing a motion for

collateral relief. Section 2255(f) provides:

       (f)     A 1-year period of limitation shall apply to a motion under this section. The
       limitation period shall run from the latest of—

               (1) the date on which the judgment of conviction becomes final;

               (2) the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the United States
               is removed, if the movant was prevented from making a motion by such


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               governmental action;

               (3) the date on which the right asserted was initially recognized by the Supreme
               Court, if that right has been newly recognized by the Supreme Court and made
               retroactively applicable to cases on collateral review; or

               (4) the date on which the facts supporting the claim or claims presented could
               have been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f).

It does not appear from the record that Petitioner filed a petition for a writ of certiorari with the

Supreme Court of the United States. Petitioner’s judgment therefore became final for pursposes

of Section 2255 review, 90-days following the Fourth Circuit’s filing of its opinion affirming his

conviction and sentence, or July 2003.

       Petitioner asserts that his Section 2255 motion is timely because it was filed within one

year of the date the Fourth Circuit filed its en banc opinion in Simmons. Petitioner contends he is

entitled to relief under Simmons because the Fourth Circuit has changed the way that the district

court must determine whether a prior conviction qualifies as a felony for the purpose of

determining an appropriate sentence under the sentencing guidelines. In Simmons, the Fourth

Circuit held that in order for a prior felony conviction to serve as a predicate offense, the

individual defendant must have been convicted of an offense for which that defendant could be

sentenced to a term exceeding one year. Simmons, 649 F.3d at 243 (emphasis added). In

reaching this holding, the Simmons Court expressly overruled United States v. Harp, 406 F.3d

242 (4th Cir. 2005), which held that in determining “whether a conviction is for a crime

punishable by a prison term exceeding one year [under North Carolina law] we consider the

maximum aggravated sentence that could be imposed for that crime upon a defendant with the

worst possible criminal history.” Id. (quoting Harp, 406 F.3d at 246) (emphasis omitted).


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        Because current Fourth Circuit law precludes relief in this habeas proceeding, the Court

finds that Petitioner’s motion is untimely, and he is not entitled to equitable tolling because he

does not present a meritorious claim for relief.

        The decision in Simmons was driven by the Court’s interpretation of the Supreme

Court’s opinion in Carachuri-Rosendo v. Holder, 130 S. Ct. 2577 (2010), which held that the

sentencing court must examine the criminal record of the individual defendant presently before

the court and not a hypothetical defendant in determining a sentence. In a decision filed the same

day as Petitioner’s Section 2255 motion was filed by the clerk, the Fourth Circuit filed a decision

which examined the impact of the decision in Carachuri and concluded that its holding was not

retroactive to cases on collateral review. See United States v. Powell, 691 F.3d 554, 560-61 (4th

Cir. 2012) (“Because the Supreme Court’s decision in Carachuri at most altered the procedural

requirements that must be followed in applying recidivist enhancements and did not alter the

range of conduct or the class of persons subject to criminal punishment, we hold that Carachuri

is a procedural rule. It is, therefore, not retroactively applicable to cases on collateral review.”);

see also United States v. Wheeler, No. 11-6643, 2012 WL 5417557, at *1 (4th Cir. filed Nov. 7,

2012) (unpublished) (noting that “Wheeler’s claim for retroactive application of [Carachuri and

our opinion in Simmons] fails in light our recent opinion in [Powell].”); United States v. Walker,

2012 WL 5359506, at *1 (4th Cir. filed Nov. 1, 2012) (unpublished) (holding that “Carachuri

claims may not be raised retroactively in collateral proceedings.”).

        Also instructive is that in Powell three Circuit judges agreed that there is no right to relief

in a Section 2255 proceeding when the sentence is within the maximum as authorized by law.

Section 2255 provides as follows:



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       A prisoner in custody under sentence of a court established by Act of Congress claiming
       the right to be released upon the ground that the sentence was imposed in violation of the
       Constitution or laws of the United States, or that the court was without jurisdiction to
       impose such sentence, or that the sentence was in excess of the maximum authorized by
       law, or is otherwise subject to collateral attack, may move the court which imposed the
       sentence to vacate, set aside or correct the sentence.

28 U.S. C. § 2255(a) (emphasis added).

Petitioner’s conviction for conspiracy to possess with intent to distribute quantities of cocaine

and cocaine base, in violation of 21 U.S.C. § 846, carried a sentence of not less 10 years and not

more than life. See 21 U.S.C. § 841(b); see also 21 U.S.C. § 846 (providing for the same

penalties as those prescribed for the offense, which in this case, was a violation of Section 841).

While the Government did provide notice under Section 851 of its intention to seek enhanced

penalties based on Petitioner’s three prior drug convictions, Petitioner was still sentenced within

the statutory maximum, with or without consideration of the predicate drug convictions noticed

in the Section 851.

       In Powell, the petitioner was sentenced to 240-months’ imprisonment following the

Government’s filing of a Section 851 notice. Powell argued that he was entitled to relief in his

Section 2255 proceeding because his conviction did not qualify as a felony conviction because

he could not have received a term of imprisonment in excess of one year. The Court rejected this

argument after finding that despite the presence of the Section 851 notice, Powell still received a

sentence within the maximum. Circuit Judge King, writing in dissent, but concurring in the

judgment upholding Powell’s sentence, noted that Section (b)(1)(A), “under which appellant

Powell was sentenced increases the mandatory minimum sentence from ten to twenty years, but

retains the maximum sentence of life. All enhanced § 841(b)(A) sentences are therefore within

the unenhanced statutory maximum.” Powell, 691 F.3d at 562.


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        Judge King continued,

        As a case in point, Powell received § 841(b)(1)(A)’s enhanced twenty-year statutory
        minimum sentence. Without the enhancement, Powell could have been sentenced to as
        little as ten years of imprisonment, but his statutory maximum would have yet been life.
        Thus, the twenty-year sentence imposed on Powell is within the unenhanced statutory
        maximum—as any enhanced subsection (b)(1)(A) sentence would necessarily be.

Id. at 562 n.1.

        In the present case, Petitioner’s sentence was within the maximum sentence, that is, life

imprisonment, and he is therefore not entitled to habeas relief in this Section 2255 proceeding.

                                              IV. CONCLUSION

        IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate, Set Aside or

Correct Sentence is DENIED and DISMISSED.

        IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding that when

relief is denied on procedural grounds, a petitioner must establish both that the correctness of the

dispositive procedural ruling is debatable, and that the petition states a debatably valid claim of

the denial of a constitutional right).

                                                        Signed: January 16, 2013




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